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UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS

                                  HOUSTON DIVISION

Dallas County Hospital District − Parkland
Memorial Hospital, et al.
  Plaintiff(s),

v.                                                         Case No. 4:19−cv−04834

Amneal Pharmaceuticals, Inc., et al.
  Defendant(s).



                             NOTICE OF SETTING
                             PLEASE TAKE NOTICE

                               HEARING: Motion Hearing
                                RE: Motion to Remand − #5
                                  Motion to Strike − #6
                                   Motion to Stay − #34
                                       DATE:   1/16/2020
                                       TIME:   03:00 PM
                                HAS BEEN SET BEFORE

                              JUDGE KEITH P. ELLISON
                           UNITED STATES COURTHOUSE
                            515 RUSK COURTROOM 3−A
                              HOUSTON, TEXAS 77002.

          ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.
        ENTER CONFERENCE ID: 45238, FOLLOWED BY PASSWORD: 13579.




David J. Bradley, Clerk                                              Date: January 15, 2020

By Deputy Clerk, A. Rivera
